             Case 22-30987 Document 405 Filed in TXSB on 07/08/22 Page 1 of 7
                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                           July 08, 2022
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                        Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                                 )
    In re:                                                       ) Chapter 11
                                                                 )
    ION GEOPHYSICAL CORPORATION, et al.1                         ) Case No. 22-30987 (MI)
                                                                 )
              Debtors.                                           ) (Jointly Administered)
                                                                 )
                                                                 )

    (I) FURTHER UPDATED JOINT STIPULATION BY AND AMONG THE DEBTORS,
             THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
               AND THE AD HOC GROUP AND (II) AGREED ORDER

         The above-captioned debtors and debtors in possession (the “Debtors”), the Official

Committee of Unsecured Creditors (the “Committee”), and the Ad Hoc Group of First Lien

Lenders and Second Lien Noteholders (the “Ad Hoc Group”,2 and together with the Debtors and

the Committee, the “Parties”) hereby file this Joint Stipulation and Agreed Order (the

“Stipulation and Order”).

         WHEREAS, on April 12, 2022, the Debtors filed petitions for relief under chapter 11 of

title 11 of the United States Code in the United States Bankruptcy Court for the Southern District

of Texas (the “Court”);

         WHEREAS, on May 9, 2022, the Court entered the Final Order (A) Authorizing the

Debtors to (I) Obtain Postpetition Financing, (II) Use Cash Collateral, (III) Grant Senior Secured



1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION
         Exploration Products (U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the
         Debtors’ service address is 4203 Yoakum Blvd., Suite 100, Houston, Texas 77006.

2
         The members of the Ad Hoc Group and their disclosable economic interest in the Debtors are set forth in the
         Verified Statement of the Ad Hoc Group of First Lien Lenders and Second Lien Noteholders Pursuant to Rule
         2019 [Docket No. 168].



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        Case 22-30987 Document 405 Filed in TXSB on 07/08/22 Page 2 of 7




Liens and Provide Claims with Superpriority Administrative Expense Status, and (IV) Grant

Adequate Protection to the Prepetition Secured Parties, (B) Modifying the Automatic Stay, (C)

Scheduling a Final Hearing, and (D) Granting Related Relief [Docket No. 230] (the “Final DIP

Order”);3

       WHEREAS, on June 22, 2022, the Court entered the (I) Joint Stipulation by and Among

the Debtors, the Official Committee of Unsecured Creditors, and the Ad Hoc Group and (II)

Agreed Order [Docket No. 330] (the “First Stipulation and Order”), amending paragraph 33 of

the Final DIP Order;

       WHEREAS, on June 23, 2022, the Parties filed the (I) Updated Stipulation by and Among

the Debtors, the Official Committee of Unsecured Creditors, and the Ad Hoc Group and (II)

Agreed Order [Docket No. 336], reflecting the Parties’ agreement to further amend paragraph 33

of the Final DIP Order (the “Second Stipulation and Order”);4

       WHEREAS, on June 29, 2022, the Court entered the (I) Updated Stipulation by and

Among the Debtors, the Official Committee of Unsecured Creditors, and the Ad Hoc Group and

(II) Agreed Order [Docket No. 353], reflecting the Parties’ agreement to further amend paragraph

33 of the Final DIP Order (the “Third Stipulation and Order” and, together with the First

Stipulation and Order and the Second Stipulation and Order, the “Prior Stipulations”);

       WHEREAS, pursuant to paragraph 33 of the Final DIP Order, as amended by the Prior

Stipulations, the deadline for the Committee to initiate an adversary proceeding or contested matter

challenging the Debtors’ Stipulations and Releases contained in paragraphs F(i)-(ix) of the Final



3
       Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Final DIP
       Order.
4
       The Court did not enter the Second Stipulation and Order, which was superseded by the Third Stipulation
       and Order (defined below) in any event.



                                                        2
        Case 22-30987 Document 405 Filed in TXSB on 07/08/22 Page 3 of 7




DIP Order is the later of (i) July 8, 2022, (ii) the date that is established as the deadline for filing

objections to confirmation of a chapter 11 plan (the “Plan Objection Deadline”),5 and (iii) any

such later date as ordered by the Court on or prior to July 8, 2022, or the earliest date thereafter

that the Court is able to rule upon a motion filed on or prior to July 8, 2022 (the time period

established by the foregoing clauses (i), (ii) and (iii), the “Challenge Period”);

       WHEREAS, pursuant to paragraph 33 of the Final DIP Order, the Challenge Period may

be extended in the sole discretion of the Required DIP Lenders, who are members of the Ad Hoc

Group; and

       WHEREAS, pursuant to paragraph 33 of the Final DIP Order, as amended by the Prior

Stipulations, if the Committee files a motion seeking standing to prosecute a challenge to the

Debtors’ Stipulations and Releases contained in paragraphs F(i)-(ix) of the Final DIP Order (such

motion, a “Standing Motion”) on or prior to July 8, 2022, the Challenge Period is tolled for thirty

(30) days (or the first business day thereafter, if the 30th day does not fall on a business day) to

allow for a hearing on the Standing Motion, provided that if the Court grants the Standing Motion

on such 30th day, then the Challenge Period is tolled for an additional three (3) business days to

permit the Committee to file its challenge.

       NOW, THEREFORE, IT IS STIPULATED BY THE PARTIES AND HEREBY

ORDERED THAT:

       1.      All references to “July 8, 2022” in paragraph 33 of the Final DIP Order, as amended

by the Prior Stipulations, are hereby replaced with “July 22, 2022.”




5
       The Plan Objection Deadline is currently July 11, 2022. See Notice of Adjourning Sale Hearing, Combined
       Hearing, and Certain Related Dates and Deadlines [Docket No. 308].



                                                     3
        Case 22-30987 Document 405 Filed in TXSB on 07/08/22 Page 4 of 7




       2.      The Court retains exclusive jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, and enforcement of this Stipulation

and Order.

  Signed: July 08, 2022
          October  17, 2018

                                                       ____________________________________
                                                                     Marvin Isgur
                                                           United States Bankruptcy Judge




                                                4
      Case 22-30987 Document 405 Filed in TXSB on 07/08/22 Page 5 of 7




THE FOREGOING STIPULATION IS SO ORDERED.


Dated: ____________________, 2022
Houston, Texas

                                         ____________________________________
                                         UNITED STATES BANKRUPTCY JUDGE




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       Case 22-30987 Document 405 Filed in TXSB on 07/08/22 Page 6 of 7




IT IS SO STIPULATED:


Dated: July 7, 2022


/s/ Daniel J. McGuire                           /s/ Charles Koster
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                                                of Unsecured Creditors

Counsel to the Debtors and Debtors in
Possession




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       Case 22-30987 Document 405 Filed in TXSB on 07/08/22 Page 7 of 7




 /s/ Matthew M. Roose
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Counsel to the Ad Hoc Group




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